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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
                                                              :
In re:                                                        :   Chapter 11
                                                              :   Case No. 14-11691
FL 6801 SPIRITS LLC, et al.,                                  :
                                                              :
                                             Debtors.         :
                                                              :
--------------------------------------------------------------x

    ORDER (I) APPROVING SALE OF DEBTORS’ PROPERTY; (II) AUTHORIZING
     ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS AND
         UNEXPIRED LEASES; AND (III) GRANTING RELATED RELIEF

                 Upon that portion (the “Sale Motion”) of the motion (the “Motion”), dated

June 1, 2014, of FL 6801 Spirits LLC, et al. (collectively, the “Debtors”),1 wherein the

Debtors moved for entry of an order pursuant to sections 105(a) and 363 of title 11 of the

United States Code (the “Bankruptcy Code”) and Rules 2002(a)(2), 6004 and 6006 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) approving the sale

(the “Sale”) of the Assets to Z Capital Partners or its designee (the “Purchaser”), as

defined and described in the Motion and the Purchase and Sale Agreement attached

hereto as Exhibit A (the “Purchase Agreement”);2 and this Court having reviewed the

Sale Motion and the Purchase Agreement; and upon this Court’s prior order, dated July

1, 2014 approving the Bidding Procedures [ECF No. 77] (the “Bidding Procedures

Order”); and due notice of the Sale Motion, the Bidding Procedures Order and the

1    The Debtors consist of the following entities: FL 6801 Spirits LLC, FL 6801 Collins North LLC, FL
     6801 Collins Central LLC and FL 6801 Collins South LLC.

2    Unless otherwise defined in this Order, capitalized terms used herein shall have the meanings
     ascribed to such terms in the Motion or the Purchase Agreement, as applicable.
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auction conducted in connection therewith (the “Auction”) having been given to all

parties entitled thereto; and the Auction having been held on August 19, 2014; and

objections to the Sale Motion having been filed on behalf of the Associations (as defined

herein below) [ECF Nos. 52, 106 and 120] and 6801 Collins Hotel LLC (“6801 Collins”)

[ECF No. 121] (collectively, the “Sale Objections”); and the Debtors having filed a reply

to the Sale Objections, which included a Declaration of Christian Charre and a

Supplemental Declaration of Anthony Barsanti in support of the Sale [ECF No. 134] (the

“Sale Reply”); and the Central and South Tower Associations having filed notices

withdrawing their support for the Sale Objections [ECF Nos. 184, 186, 188, 189] (the

“Sale Objection Withdrawals”); and the Debtors having filed a supplemental reply in

support of the Sale Motion [ECF No. 203] (the “Supplemental Sale Reply”); and the

Purchaser having filed the Declaration of Andrei Scrivens in support of the Sale Motion

[ECF No. 199] (the “Sale Declaration”); and the North Tower Association having filed a

supplemental Sale Objection [ECF No. 210] (the “North Tower Supplemental

Objection”); and unit owners Henry Shamamian, Kuljinder Chase, Alan Ginsberg and

Nasser Ahmad having filed a position statement [ECF No. 206] (the “Unit Owners’

Statement”); and 6801 Collins having filed a supplemental statement regarding the Sale

[ECF No. 208] (the “6801 Supplemental Objection”); and the Purchaser having executed

that certain Term Sheet annexed hereto as Exhibit B with the South Tower Association

and the Central Tower Association (each as defined hereinbelow) (the “South/Central

Tower Term Sheet”); and the Purchaser having executed that certain Term Sheet




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annexed hereto as Exhibit C with the North Tower Association (as defined hereinbelow)

(the “North Tower Term Sheet”);

               NOW, THEREFORE, upon the entire record of the Procedures Hearing,

the Sale Hearing (each as defined in the Bidding Procedures Order) and this case,

including, without limitation, the admitted portions of the Declaration of Anthony

Barsanti Pursuant to Local Bankruptcy Rule 1007-2 and in Support of Chapter 11

Petitions and First Day Motions [ECF No. 2], the Declaration of Anthony Barsanti in

Support of Motion [ECF No. 72], the Sale Motion, Sale Objections, the Sale Reply, the

Sale Objection Withdrawals, the Supplemental Sale Reply, the Sale Declaration, the

North Tower Supplemental Objection, the Unit Owners’ Statement, the 6801

Supplemental Objection, the South/Central Tower Term Sheet and the North Tower

Term Sheet; and after due deliberation thereon and good cause appearing therefor, and

for the reasons stated on the record of the Sale Hearing; and each of the Associations

having consented to entry of the Sale Order on the terms reflected herein;

               IT IS HEREBY FOUND AND DETERMINED THAT:

               A.   This Court has jurisdiction over the Sale Motion and the relief

requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference, dated January 31, 2012 (Preska, C.J.), and this matter is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (N). Venue of these cases and the

Sale Motion in this district is proper under 28 U.S.C. §§ 1408 and 1409.




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               B.      The statutory predicates for the relief sought in the Sale Motion are

sections 105(a) and 363 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004 and

6006.

               C.      Proper, timely, adequate and sufficient notice of the Sale Motion

and the relief requested therein, the Auction, the Sale Hearing, the Sale, and the

transactions described in the Purchase Agreement (all such transactions being

collectively referred to as the “Sale Transaction”), and the assumption and assignment

of each Assigned Contract, has been provided in accordance with sections 102(1), 363

and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006 and 9014 and in

compliance with the Bidding Procedures Order to all interested persons and entities,

including: (i) counsel for the Purchaser, Latham & Watkins, 330 N. Wabash, Suite 2800,

Chicago, IL, Attn: James Ktsanes; (ii) all applicable federal, state, and local taxing and

regulatory authorities of the Debtors or recording offices or any other governmental

authorities that, as a result of the sale of the Assets, are reasonably expected by the

Debtors to have claims, contingent or otherwise, in connection with the Debtors'

ownership of the Assets or have any known interest in the relief requested by the

Motion, including (a) the Internal Revenue Service, P.O. Box 21126, Philadelphia,

Pennsylvania 19114, (b) the Florida Licensing Authorities, and (c) the City of Miami

Beach, City Hall, 1700 Convention Center Drive, Miami Beach, Florida 33139; (iii) the

Debtors’ known secured creditors and lien holders, including all creditors or their

counsel known to the Debtors to assert a lien (including any security interest), claim,

right, interest, or encumbrance of record against all or any portion of the Assets; (iv) the


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United States Attorney for the Southern District of New York; (v) the Office of the

United States Trustee for Region 2, Attn: William K. Harrington, Esq. and Susan D.

Golden, Esq., U.S. Federal Office Building, 201 Varick Street, Suite 1006, New York,

New York 10014; (vi) the Debtors’ Secured Lender, PAMI ALI LLC, c/o Weil, Gotshal &

Manges LLP, Attn: Jacqueline Marcus, Esq., 767 Fifth Avenue, New York, New York

10153; (vii) CR Miami, LLC, Attn: Jerry Cohen and Gary Milner, 8600 East Rockcliff

Road, Tucson, Arizona 85750; W. James Harrison, Esq., W.J. Harrison & Associates,

P.C., 3561 East Sunrise, Suite 201, Tucson, Arizona 85718 (counsel to CR Miami, LLC);

(viii) parties to executory contracts and unexpired leases proposed to be assumed and

assigned, or rejected as part of the Proposed Sale; (ix) counsel to the North Tower

Association; (x) counsel to the Central and South Tower Associations; (xi) all owners of

units at the Assets; (xii) the creditors listed as holding the 20 largest unsecured claims

against the Debtors' estates (on a consolidated basis); (xiii) all entities that have

expressed an interest to the Debtors' or their advisors in purchasing the assets subject to

this Order; (xiv) all parties listed on Schedule 6 to the Purchase Agreement; and (xv) all

other parties that filed notices of appearance in the Chapter 11 cases, ((i)-(xv) shall be

collectively referred to herein as the “Notice Parties”). Notice of the Auction and Sale

Hearing was published in the New York Times on July 7, 2014. The notices described

above were good, sufficient, and appropriate under the circumstances, and no other

notice is required.




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                D.      The disclosures made by the Debtors concerning the Purchase

Agreement, the Auction, the Sale contemplated by the Purchase Agreement, and the

Sale Hearing were good, complete, and adequate.

                E.      The Bidding Procedures set forth in the Bidding Procedures Order

were non-collusive and proposed and executed in good faith as a result of arm's-length

negotiations, and were substantively and procedurally fair to all entities.

                F.      The Debtors conducted the sale and auction process in accordance,

and have otherwise complied in all respects, with the Bidding Procedures Order. The

sale and auction process set forth in the Bidding Procedures Order afforded a full, fair,

and reasonable opportunity for all creditors, parties-in-interest and other entities to

make a higher or otherwise better offer to purchase the Assets.

                G.      A reasonable opportunity to object or be heard with respect to the

Sale Motion and the relief requested therein has been afforded to all interested persons

and entities.

                H.      The Debtors have full corporate power and authority to

consummate the Sale Transaction pursuant to the Purchase Agreement and all other

documents contemplated thereby, and no consents or approvals, other than those

expressly provided for in the Purchase Agreement, are required for the Debtors to

consummate the Sale Transaction.

                I.      Approval of the Purchase Agreement and consummation of the

Sale Transaction are in the best interests of the Debtors’ estates, their creditors, and

other parties-in-interest.


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               J.      The Debtors have demonstrated good, sufficient, and sound

business purpose and justification and compelling circumstances for the Sale pursuant

to section 363(b) of the Bankruptcy Code. Such business reasons include, without

limitation, the following: (i) the Purchase Agreement constitutes the highest or

otherwise best offer for the Assets; (ii) the Purchase Agreement and the closing thereon

will present the best opportunity to realize the value of the Assets on a going concern

basis and avoid decline and devaluation of the Assets; and (iii) any other transaction,

including, without limitation, pursuant to a chapter 11 plan, would not have yielded as

favorable an economic result.

               K.      The Purchase Agreement was negotiated, proposed and entered

into by and among the Debtors and the Purchaser, without collusion, in good faith, and

from arm's-length bargaining positions. The Purchaser is not an “insider” or “affiliate”

of the Debtors as those terms are defined in the Bankruptcy Code. Neither the Debtors

nor the Purchaser have engaged in any conduct that would cause or permit the

avoidance of the Purchase Agreement or the consummation of the Sale Transaction, or

the imposition of costs or damages under section 363(n) of the Bankruptcy Code. The

aggregate price paid by the Purchaser for the Assets was not controlled by any

agreement among the bidders.

               L.      The Purchaser is a good faith purchaser under section 363(m) of the

Bankruptcy Code and, as such, is entitled to all of the protections afforded thereby in

that: (a) the Purchaser recognized that the Debtors were free to deal with any other

party interested in a transaction regarding the Sale; (b) the Purchaser complied in all


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respects with the Bidding Procedures Order; (c) the Purchaser agreed to provisions in

the Purchase Agreement that would enable the Debtors to accept a higher or better offer

in respect of the Sale; (d) the Purchaser made the highest or best bid in respect of the

Sale; (e) all payments to be made by or to the Purchaser and other agreements or

arrangements that have been entered into by the Purchaser in connection with the

transactions have been disclosed; (f) the Purchaser neither induced nor caused the

Debtors’ chapter 11 filings; (g) the negotiation and execution of the Purchase Agreement

and any other agreements or instruments related thereto was in good faith and an

arm’s-length transaction between the Purchaser and the Debtors; and (h) the Purchaser

has not violated section 363(n) of the Bankruptcy Code by any action or inaction. The

Purchaser has at all times acted in good faith and will continue to be acting in good

faith within the meaning of section 363(m) of the Bankruptcy Code in closing the

transactions contemplated by the Purchase Agreement.

               M.   The Sale Transaction and the sale of the Assets is in furtherance of,

and a conveyance pursuant to, the Modified Third Amended Joint Chapter 11 Plan of

Lehman Brothers Holdings Inc., Chapter 11 Case No. 08-13555 [ECF No. 23023] (the

“Plan”), which provides that the Plan Administrator (as defined in the Plan) shall wind-

down, sell and otherwise liquidate assets of the Debtor-Controlled Entities (as defined

in the Plan) in accordance with Section 6.1(b)(iii) of the Plan. The Debtors are Debtor-

Controlled Entities within the meaning of the Plan.

               N.   The terms and conditions of the Purchase Agreement are fair and

reasonable. The consideration of $21,600,000 (subject to adjustments as set forth in the


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Purchase Agreement) to be provided by the Purchaser for the Assets pursuant to the

Purchase Agreement (i) is fair and reasonable, (ii) is the highest or best offer for the

Assets, (iii) will provide a greater recovery for the Debtors’ creditors than would be

provided by any other practical available alternative, and (iv) constitutes reasonably

equivalent value (as those terms are defined in each of the Uniform Fraudulent Transfer

Act, Uniform Fraudulent Conveyance Act and section 548 of the Bankruptcy Code) and

fair consideration under the Bankruptcy Code and applicable non-bankruptcy law. No

other entity or group of entities has offered to purchase the Assets for greater economic

value to the Debtors’ estates than the Purchaser. The Debtors’ determination that the

Purchase Agreement constitutes the highest and best offer for the Assets constitutes a

valid and sound exercise of the Debtors’ business judgment.

               O.      The Purchaser is not a mere continuation of any of the Debtors or

their estates and there is no continuity of enterprise between the Purchaser and any of

the Debtors. The Purchaser is not holding itself out to the public as a continuation of

any of the Debtors. The Purchaser is not a successor to any of the Debtors or their

estates and the Sale does not amount to a consolidation, merger or de facto merger of

Purchaser and any of the Debtors.

               P.      The Sale of the Assets outside a chapter 11 plan pursuant to the

Purchase Agreement neither impermissibly restructures the rights of the Debtors'

creditors nor impermissibly dictates the terms of a chapter 11 plan of the Debtors. The

Sale does not constitute a sub rosa plan.




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                Q.      The Purchaser has not agreed to assume and shall have no

obligations with respect to any liabilities of the Debtors or their subsidiaries or Affiliates

other than the Assumed Liabilities and Permitted Encumbrances as specifically

provided in the Purchase Agreement.

                R.      The Purchaser is not and will not be liable to any agent, broker,

person or firm acting or purporting to act on behalf of either the Debtors or the

Purchaser for any commission, broker's fee or finder's fee respecting the Sale

Transaction.

                S.      The Purchase Agreement was not entered into for the purpose of

hindering, delaying or defrauding creditors under the Bankruptcy Code or under the

laws of the United States, any state, territory, possession or the District of Columbia.

Neither the Debtors nor the Purchaser are fraudulently entering in the transaction

contemplated by the Purchase Agreement.

                T.      The Assets constitute property of the Debtors’ estates and the

Debtors are the sole and lawful owner of the Assets, and hold good title thereto (subject

to the Permitted Encumbrances).3 The transfer of the Assets to the Purchaser will be a

legal, valid, and effective transfer of the Assets, and will vest the Purchaser with all

right, title, and interest of the Debtors in and to the Assets free and clear of all liens,

claims, interests, obligations, rights, charges and encumbrances, except for Permitted




3   A Legal Description of the real property components of the Assets is contained on Exhibit D to this
    Order.



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Encumbrances as specifically provided in the Purchase Agreement. The Purchaser shall

have no liability for any claims against or liabilities of the Debtors or their estates.

               U.    The Debtors have good marketable title to the Assets and are

lawful owners of the Assets. The Debtors may sell the Assets free and clear of all, liens,

interests, obligations, rights, encumbrances, pledges, mortgages, deeds of trust, security

interests, claims (including, any “claim” as defined in Section 101(5) of the Bankruptcy

Code), leases, possessory leasehold interests, charges, options, rights of first refusal or

option to purchase any real property, easements, servitudes, transfer restrictions under

any   agreement,     judgments,     hypothecations,      demands,     licenses,   sublicenses,

assignments, debts, obligations, guaranties, options, contractual commitments,

restrictions, environmental liabilities, options to purchase, and options, in each case of

whatever kind, nature, or description in, against or with respect to any of the Assets,

having arisen, existed or accrued prior to and through the Closing, whether direct or

indirect, absolute or contingent, choate or inchoate, fixed or contingent, matured or

unmatured,     liquidated    or   unliquidated,    arising   or   imposed    by    agreement,

understanding, law, equity, statute or otherwise and whether arising prior to, on or

after the Petition Date, including those liens, claims and/or encumbrances listed on

Exhibit E to this Order (collectively, “Liens, Claims and/or Interests”), except for

Permitted Encumbrances as expressly provided in the Purchase Agreement, because

one or more of the standards set forth in section 363(f)(1) – (5) has been satisfied with

regard to each such Lien, Claim and/or Interest. Those non-debtor parties with Liens,

Claims and/or Interests in or with respect to the Assets who did not object, or who


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withdrew their objections to the Sale Transaction or the Sale Motion are deemed to have

consented to the sale of the Assets free and clear of those non-debtor parties’ Liens,

Claims and/or Interests in the Assets pursuant to section 363(f)(2) of the Bankruptcy

Code. Those non-debtor parties with Liens, Claims and/or Interests in or with respect

to the Assets who objected to the Motion, but who did not withdraw any such objection,

can be compelled to accept a monetary satisfaction of their liens, claims or interests

within the meaning of Section 363(f)(5) of the Bankruptcy Code.

               V.      Certain of the Assets are sold subject to: (i) the Declaration of

Covenants, Restrictions and Easements for Carillon Hotel and Spa recorded on

December 3, 2007 in OR Book 26080 on Pages 4905 – 5008 in the public records for

Miami-Dade County, FL, including all recorded amendments to same (collectively, the

“Master Declaration”); (ii) the Declaration of Central Carillon Beach, a Condominium

recorded on October 15, 2008 in OR Book 26610, Pages 0735 – 882 in the public records

for Miami-Dade County, FL, including all recorded amendments to same (collectively,

the “Central Tower Declaration”); (iii) the Declaration of South Carillon Beach, a

Condominium recorded on December 3, 2007 in OR Book 26080 at page 4764 in the

public records for Miami-Dade County, FL, including all recorded amendments to same

(collectively, the “South Tower Declaration”), and (iv) the Declaration of North

Carillon Beach, a Condominium recorded on August 27, 2008 in OR Book 26542 at page

15 in the public records for Miami-Dade County, FL, including all recorded

amendments to same (collectively, the “North Tower Declaration”) (the “North Tower

Declaration,” “South Tower Declaration” and “Central Tower Declaration” are


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collectively referred to hereinafter as the “Tower Declarations” unless otherwise

specified, and the Master Declaration and Tower Declarations are hereinafter referred to

as the “Declarations,” unless otherwise specified) which grant the owner of those Assets

certain rights pursuant thereto. The North Carillon Beach Condominium Association

Inc. (the “North Tower Association”), South Carillon Beach Condominium Association

Inc. (the “South Tower Association”), and Central Carillon Beach Condominium

Association, Inc. (the “Central Tower Association) (collectively referred to hereinafter as

the “Associations” unless otherwise specified) dispute and have sought to impinge

upon and define those rights. To facilitate the Sale, this Court makes the following

findings confirming the rights granted to the Debtors pursuant to the Declarations:

               •      The “Hotel Lot Owner” (as defined in the Master Declaration) (or
                      any successor Hotel Lot Owner) has the exclusive right to
                      determine from time to time, in its sole discretion and without
                      notice or approval of any change, how and by whom the Spa (as
                      defined in the Master Declaration) and spa facilities shall be used, if
                      at all, including, without limitation, the right to approve users,
                      determine eligibility for use, establish hours or use and guest
                      policies, restrictions and/or prohibitions, and to allow use of the
                      Spa and spa facilities by persons other than the Unit Owners (as
                      defined in the Declarations).

               •      Each Unit Owner’s right to use the Shared Facilities (as defined in
                      the Master Declaration), including his or her “Limited Spa Rights,”
                      as that term is defined in Article 1.1(dd)(iv)(d) of the Master
                      Declaration, are subject to the Hotel Lot Owner’s right to permit
                      other persons to use such facilities as the Hotel Lot Owner (or any
                      successor Hotel Lot Owner) may designate in its sole discretion.
                      This includes without limitation persons who are not members of
                      the Associations or who are not owners of any portion of the
                      Properties (as defined in the Master Declaration) and may include
                      members of the public generally.




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               •      The Hotel Lot Owner (or any successor Hotel Lot Owner) may
                      grant and use general and specific easements over, under, and
                      through the Shared Facilities at its sole discretion to whomever it so
                      chooses.

               •      The owner (or any successor owner) of the Future Development
                      Property as defined by Article 1.1(x) of the Master Declaration has
                      the right to “annex” or add Future Development Property to the
                      jurisdiction of the Master Declaration, provided that a
                      Supplemental Declaration is duly executed and recorded in the
                      Public Records of Miami-Dade County, as provided in Article 2.2 of
                      the Master Declaration.

               •      The Hotel Lot Owner (or any successor Hotel Lot Owner) may levy
                      assessments for, without limitation, the maintenance, repair,
                      management, replacement and operation of the Shared Facilities.
                      Included in the Shared Facilities are the Unit Owner’s Limited Spa
                      Rights, only as expressly set forth in Articles 1.1(dd)(iv)(d), 1.1(oo),
                      and 4.4 of the Master Declaration. Such assessments for the Shared
                      Facilities are separate from and in addition to the monthly Fixed
                      Charge that Unit Owners are obligated to pay the Hotel Lot Owner
                      (or any successor Hotel Lot Owner) in accordance with Article 16.3
                      of the Master Declaration.

               •      The Hotel Lot Owner (or any successor Hotel Lot Owner) has
                      broad rights under the Master Declaration to regulate the use of the
                      Shared Facilities, including, without limitation, (i) the right to limit
                      the availability of Unit Owners’ use privileges, (ii) to change,
                      eliminate or cease of any or all of the spa features and/or services,
                      and (iii) to impose reasonable non-discriminatory rules and
                      regulations, policies, restrictions and/or prohibitions to govern the
                      orderly use of such facilities.

               •      The Hotel Lot Owner (or any successor Hotel Lot Owner) may
                      institute reasonable rules and regulations to operate and manage
                      the Shared Facilities, including limiting maximum daily users to
                      comport with legal occupancy limits.

               •      The Hotel Lot Owner (or any successor Hotel Lot Owner) may
                      include the expense of Valet Parking Services (as defined in the Sale
                      Motion) in the Condominium Tower’ Shared Facilities Assessments
                      (as defined in the Sale Motion).




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               •       The Hotel Lot Owner (or any successor Hotel Lot Owner) may
                       assess utility costs based upon square footage rather than actual
                       usage.

Nothing herein, including the Court’s approval of the North Tower Term Sheet and the
South/Central Tower Term Sheet, shall constitute an amendment or modification of the
Declarations.

               W.      If the above findings regarding the rights granted by the Master

Declaration and Declarations were not entered, the Purchaser would not consummate

the Sale, thus adversely affecting the Debtors, their estates and their creditors.

               X.      If the Sale were not free and clear of all Liens, Claims and/or

Interests, or if the Purchaser would, or in the future could, be liable for any of the Liens,

Claims and/or Interests, the Purchaser would not have entered into the Purchase

Agreement and would not consummate the Sale, thus adversely affecting the Debtors,

their estates and their creditors.

               Y.      Approval of the North Tower Term Sheet and the South/Central

Tower Sheet as part of the Court’s approval of the Sale is a condition of the North

Tower Term Sheet and South/Central Tower Term Sheet, respectively.

               Z.      The assumption and assignment of the Assigned Contracts

pursuant to the terms of this Order is integral to the Purchase Agreement and is in the

best interests of the Debtors and their estates, creditors, and other parties in interest,

and represents the reasonable exercise of sound and prudent business judgment by the

Debtors.

               AA.     The Debtors and Purchaser have, to the extent necessary, satisfied

the requirements of section 365 of the Bankruptcy Code, including, without limitation,


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sections 365(b)(1)(A) and (B) and 365(f) of the Bankruptcy Code, in connection with the

Sale and the assumption and assignment of the Assigned Contracts to the extent

provided under the Purchase Agreement. The Purchaser is able to demonstrate

adequate assurance of future performance with respect to any Assigned Contracts in

accordance with section 365(b)(1)(C) of the Bankruptcy Code. Except as expressly

provided by the Purchase Agreement, the Assigned Contracts are assumable and

assignable notwithstanding any provisions contained therein to the contrary.

               AB.     The transfer of the Assets to the Purchaser (i) does not constitute an

avoidable transfer under the Bankruptcy Code or under other applicable bankruptcy or

non-bankruptcy law and (ii) does not and will not subject the Purchaser to any liability

whatsoever with respect to the operation of the Debtors’ business prior to the closing of

the Sale Transaction (the “Closing”).

               NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

DECREED THAT:

General Provisions

               1.      The Sale Motion is hereby granted and approved as set forth

herein.

               2.      The North Tower Term Sheet and the South/Central Tower Term

Sheet are hereby approved as set forth herein.

               3.      The findings of fact set forth above and conclusions of law stated

herein shall constitute this Court’s findings of fact and conclusions of law pursuant to

Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule


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9014. To the extent any finding of fact later shall be determined to be a conclusion of

law, it shall be so deemed, and to the extent any conclusion of law later shall be

determined to be a finding of fact, it shall be so deemed.

               4.      Any and all objections, if any, to the Sale Motion or the relief

requested therein that have not been withdrawn, waived, or settled, and all reservations

of rights included in such objections, are hereby overruled on the merits with prejudice,

and in each case, are enjoined from taking any action against the Purchaser or any

purchaser of the Assets, his affiliates or any agent of the foregoing to recover any claim

which such person or entity has against the Debtors, or their estates. Those parties who

did not object or who withdrew their objections to the Sale Motion, including, without

limitation, each of the Associations, are deemed to have consented to the sale, including

pursuant to section 363(f)(2) of the Bankruptcy Code.

Approval of the Purchase Agreement

               5.      The Purchaser’s offer for the Assets, as embodied in the Purchase

Agreement, is the highest or otherwise best offer for the Assets.

               6.      The Sale Transaction, and all of the terms and conditions and

transactions contemplated by the Purchase Agreement are hereby authorized and

approved pursuant to sections 105(a) and 363(b) of the Bankruptcy Code.

               7.      Pursuant to section 363(b) of the Bankruptcy Code, the Debtors are

authorized to consummate the Sale Transaction pursuant to and in accordance with the

terms and conditions of the Purchase Agreement and the Debtors shall at all times act in

accordance with the terms thereof.


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               8.      The Debtors are authorized to execute and deliver, and empowered

to perform under, consummate, and implement the Purchase Agreement, together with

all additional instruments and documents that may be reasonably necessary, convenient

or desirable to implement the Purchase Agreement and consummate the Sale

Transaction pursuant thereto and effectuate the provisions of this Order and the

transactions approved hereby, and to take all further actions as may be requested by the

Purchaser for the purpose of assigning, transferring, granting, conveying and

conferring to the Purchaser or reducing to possession, the Assets, or as may be

necessary or appropriate to the performance of the obligations as contemplated by the

Purchase Agreement.

               9.      The consideration provided by the Purchaser to the Debtors

pursuant to the Purchase Agreement for the Assets constitutes reasonably equivalent

value and fair consideration under the Bankruptcy Code, Uniform Fraudulent Transfer

Act, Uniform Fraudulent Conveyance Act and under the laws of the United States, any

state, territory, possession or the District of Columbia.

               10.     This Order shall be binding in all respects upon (a) the Debtors, (b)

their estates, (c) all creditors, (d) all holders of Liens, Claims and/or Interests whether

known or unknown (including, but not limited to those identified on Exhibit E to this

Order) against or on all or any portion of the Assets, (d) the Purchaser and all

successors and assigns of the Purchaser (e) the Assets, (f) any trustee(s) subsequently

appointed in the Debtors’ chapter 11 cases or upon a dismissal or conversion of these

cases under chapter 7 of the Bankruptcy Code. This Order and the Purchase Agreement


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shall inure to the benefit of the Debtors, their estates and creditors, the Purchaser and

the respective successors and assigns of each of the foregoing.

Transfer of the Assets

               11.   The conditions of section 363(f) of the Bankruptcy Code have been

satisfied in full; therefore, the Debtors may sell the Assets free and clear of any Liens,

Claims and/or Interests in the Assets.

               12.   Except for Permitted Encumbrances only as expressly provided in

the Purchase Agreement, pursuant to sections 105(a) and 363(f) of the Bankruptcy Code,

upon the Closing, the Assets (and good and marketable title to such Assets) and all of

the Debtors’ rights, title and interest therein shall be transferred to the Purchaser free

and clear of all Liens, Claims and/or Interests (including, but not limited to those listed

on Exhibit E to this Order) with all such Liens, Claims and/or Interests to attach to the

net cash proceeds of the Sale Transaction in the order of their priority, with the same

validity, force and effect which they now have as against the Assets, subject to any

claims and defenses, setoffs or rights of recoupment the Debtors may possess with

respect thereto (which such claims defenses, setoffs or rights of recoupment shall be

transferred to the Purchaser at closing).

               13.   Pursuant to section 363(f) of the Bankruptcy Code, applicable

Florida law, the Declarations, and this Court’s Guidelines for the Conduct of Asset

Sales, adopted by General Order No. M-383, dated as of November 18, 2009, the

Debtors have set forth the legal authority necessary to support this Court’s findings




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regarding the future conduct that may or will take place with respect to certain of the

Assets after the date of the Sale Order.

               14.   Except for Permitted Encumbrances, as expressly provided in the

Purchase Agreement, all persons and entities (and their respective successors and

assigns) including, but not limited to, all equity security holders, governmental, tax, and

regulatory authorities, lenders, trade and other creditors, holding Liens, Claims and/or

Interests (whether legal or equitable, secured or unsecured, matured or unmatured,

contingent or non-contingent, senior or subordinated) against, in or with respect to the

Debtors and/or the Assets arising or accruing under or out of, in connection with, or in

any way relating to, the Debtor, the Assets, the operation of the Debtors’ business prior

to the Closing, or the transfer of the Assets to the Purchaser, hereby are forever barred,

estopped, and permanently enjoined from asserting such persons’ or entities’ Liens,

Claims and/or Interests against the Assets or the Purchaser or any of the Purchaser’s

successors or assigns. Following the Closing Date, no holder of a Lien, Claim and/or

Interest shall interfere with the Purchaser’s title to or use and enjoyment of the Assets

based on or related to such Lien, Claim and/or Interest or any actions that the Debtors

have taken or may take in this Chapter 11 case.          Effective upon the Closing, the

Purchaser shall have no liability for any claims (as defined in section 101(5) of the

Bankruptcy Code) against the Debtors or their estates.

               15.   The Debtors may sell the Assets free and clear of all Liens, Claims

and/or Interests whatsoever against the Debtors, their estates or any of the Assets

(except the Assumed Liabilities or as otherwise provided in this Order) because, in each


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case, one or more of the standards set forth in section 363(f)(1)-(5) of the Bankruptcy

Code has been satisfied. Those holders of Liens, Claims and/or Interests against the

Debtors, their estates or any of the Assets who did not object, or who withdrew their

objections to the Sale Transaction or the Sale Motion are deemed to have consented

pursuant to 363(f)(2) of the Bankruptcy Code.

               16.   The transfer of the Assets to the Purchaser pursuant to the Purchase

Agreement constitutes a legal, valid, and effective transfer of the Assets, and shall vest

the Purchaser with all right, title, and interest of the Debtors in and to the Assets.

Sale Proceeds

               17.   The proceeds of the Sale Transaction (including the amount of the

Deposit) shall be distributed as follows: first, to pay the costs and expenses incurred by

the Debtors in connection with the Sale Transaction (excluding legal fees), including,

without limitation, the commission owing to the Debtors’ broker, CBRE in the amount

of $499,139.34, all taxes and/or assessments levied and assessed against the land, which

are due and payable, estoppel fees, survey costs, escrow fees, title costs, stamp taxes,

transfer taxes, and property prorations due from the Debtors; and second, to PAMI

ALI, LLC, the Debtors’ post-petition lender and the holder of a first priority senior lien

on the Assets to satisfy the Debtors’ secured pre-petition obligation and the Debtors’

outstanding borrowings under the post-petition financing agreement. Any and all valid

and perfected Liens, Claims and/or Interests in the Assets shall attach to the proceeds

of such Assets immediately upon receipt of such proceeds by the Debtors (or any party

acting on any Debtor’s behalf) in order of priority, and with the same validity, force and


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effect which they now have against such Assets, except to the extent modified by the

immediately preceding sentence, subject to any rights, claims and defenses the Debtors,

the Debtors’ estates or any trustee for any Debtor, as applicable, may possess with

respect thereto, in addition to any limitations on the use of such proceeds pursuant to

any provision of this Sale Order.

No Successor Liability

               18.   Except for the Assumed Liabilities, the transfer of the Assets to

Purchaser shall not result in (i) the Purchaser or the Assets having any liability or

responsibility for any Liens, Claims and/or Interests against the Debtors or against an

insider of the Debtors, (ii) the Purchaser or the Assets having any liability whatsoever

with respect to, or be required to satisfy in any manner, whether at law or in equity,

whether by payment, setoff or otherwise, directly or indirectly, any Liens, Claims

and/or Interests or Excluded Assets, or (iii) the Purchaser or the Assets, having any

liability or responsibility to the Debtors except as is expressly set forth in the Purchase

Agreement.

               19.   Without limiting the generality of the foregoing, and except as

otherwise specifically provided herein or in the Agreement, the Purchaser shall not be

liable for any claims (as defined in section 101(5) of the Bankruptcy Code) against any of

the Debtors or any of their respective predecessors or affiliates, and the Purchaser shall

have no successor or vicarious liabilities of any kind or character, including, but not

limited to, under any theory of antitrust, environmental, successor or transferee

liability, labor law, successor or successor employer liability, de facto merger or joint


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venture, mere continuation or substantial continuity, whether known or unknown as of

the Closing, now existing or hereafter arising, whether fixed or contingent, whether

asserted or unasserted, whether legal or equitable, whether liquidated or unliquidated,

including, but not limited to, liabilities on account of warranties, intercompany loans

and receivables between any of the Debtors and any non-debtor subsidiary, liabilities

relating to or arising from any environmental laws, and any taxes arising, accruing or

payable under, out of, in connection with, or in any way relating to the operation of any

of the Assets prior to Closing.

               20.   All persons and entities are hereby forever prohibited and enjoined

from taking any action that would adversely affect or interfere with the ability of any of

the Debtors to sell and transfer the Assets to the Purchaser in accordance with the terms

of the Purchase Agreement and this Order.

               21.   The Purchaser has given substantial consideration under the

Purchase Agreement for the benefit of the Debtors, their estates and creditors. The

consideration given by the Purchaser shall constitute valid and valuable consideration

for the releases of any potential Liens, Claims and/or Interests pursuant to the Order,

which releases shall be deemed to have been given in favor of the Purchaser by all

holders of all Liens, Claims and/or Interests against any of the Debtors or any of the

Assets.   The consideration provided by the Purchaser for the Assets under the

Agreement is fair and reasonable and accordingly the purchase may not be avoided

under section 363(n) of the Bankruptcy Code.




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Assigned Contracts

               22.   (a)    Authorization. Subject to the terms of this Section 22, the

Debtors are authorized to execute and deliver to the Purchaser such documents or other

instruments and to take such other actions as may be necessary to assume and assign

the Assigned Contracts to the Purchaser at Closing. In addition, the Debtors shall, at

Closing, assign the Rental Program Agreements to the Purchaser.           The foregoing

assignment of the Rental Program Agreements to the Purchaser shall constitute an

“Assigned Contract” for all purposes hereunder, including, without limitation, Section

21(c) of this Sale Order.

                     (b)    Cure Amounts; Adequate Assurances.           Except as may

otherwise be agreed to by the parties to an Assigned Contract, at the Closing, the

Debtors shall cure those defaults under the Assigned Contracts that need to be cured in

accordance with the Purchase Agreement and section 365(b) of the Bankruptcy Code,

by payment of (i) the undisputed Cure Amounts in the amounts listed in the Sale Notice

as “Cure Amounts,” (ii) the amount agreed to by any party to an Assigned Contract and

the Debtors, or (iii) the amount ordered by this Court to constitute the Cure Amount for

any Assigned Contract after a hearing to consider the objection by a counterparty to an

Assigned Contract to the Cure Amount for such Assigned Contract. The payment of

the applicable Cure Amounts (if any) by the Debtors will (a) effect a cure of all defaults

existing thereunder as of the date that such executory contracts or unexpired leases are

assumed and assigned within the meaning of section 365(b)(1)(A) of the Bankruptcy

Code or otherwise and (b) compensate for any actual pecuniary loss to such non-Debtor


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party resulting from such default within the meaning of section 365(b)(1)(B) of the

Bankruptcy Code or otherwise, at which time the Purchasers shall then have taken

assignment of the Assigned Contracts and, pursuant to section 365(f) of the Bankruptcy

Code, the assignment by the Debtors of such Assigned Contracts shall not be a default

thereunder. Since the Purchaser has sufficient assets to continue performance under the

Assigned Contracts, the Purchaser’s promise to perform under the Assigned Contracts

is hereby deemed to constitute adequate assurance of future performance under the

Assigned Contracts and any other proposed assignments.

                     (c)    Assignment Free and Clear of Liens, Claims and/or

Interests. The Assigned Contracts shall be assigned to the Purchaser upon the Closing,

free and clear of all Liens, Claims and/or Interests of any kind or nature whatsoever

(including, without limitation, any Liens, Claims and/or Interests arising under or

related to any of the Canyon Ranch Agreements) other than the Assumed Liabilities,

and shall remain in full force and effect for the benefit of the Purchaser and/or its

affiliates, as applicable, in accordance with their respective terms, notwithstanding any

provision in any such Assigned Contracts (including those of the type described in

sections 365(b)(2) and (f) of the Bankruptcy Code) that prohibits, restricts, or conditions

any assignment, transfer or sublease.

                     (d)    Good Faith.     The assignments of each of the Assigned

Contracts are made in good faith under sections 363(b) and 363(m) of the Bankruptcy

Code.




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                     (e)    Effect of Assumption and Assignment. Upon the Closing

(or, if later, upon the assignment of such Assigned Contract to Purchaser) and the

payment of the relevant Cure Amounts by the Debtors, Purchaser shall be deemed to be

substituted for the Debtors, as applicable, as a party to the applicable Assigned

Contracts and the Debtors shall be released, pursuant to section 365(k) of the

Bankruptcy code, to the extent allowable under applicable law, from any liability under

the Assigned Contracts but only to the extent any such liability first accrues after the

Closing Date; provided, however, that any default, claim, liability or obligation of any

kind arising from an event that occurs prior to the Closing that gives rise to a default,

claim, liability or obligation or any kind after Closing (e.g., any event that gives rise to

liability after lapse of an applicable cure period) shall be deemed to have accrued prior

to Closing for all purposes hereunder); and, provided, further, that the foregoing release

of the Debtors by the Purchaser shall apply only with respect to liabilities that are

assumed by the Purchaser.       There shall be no rent accelerations, assignment fees,

increases or any other fees or loss of rights or increase of liabilities under the Assigned

Contracts charged to Purchaser solely as a result of the assumption and assignment of

the Assigned Contracts. Each counterparty to an Assigned Contract will be forever

barred, estopped and permanently enjoined from (i) asserting against the Debtors or the

Purchaser, or their respective affiliates, or the property of any of them, any default

existing as of Closing; or, against the Purchaser or its affiliates, any counterclaim,

defense, setoff or any other Lien, Claim and/or Interest asserted or assertable against

the Debtors;   and (ii) imposing or charging against Purchaser or its affiliates any


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accelerations, assignment fees, increases or any other fees or asserting any loss of rights

or increase of liabilities under the Assigned Contract solely as a result of the Debtors’

assumption and assignment to Purchaser of the Assigned Contract. No counterparty

under any Assigned Contract may terminate any such contract, nor shall the

Purchaser’s rights and obligations under such Assigned Contracts be adversely affected

in any way, by reason of any default under such Assigned Contract prior to Closing. To

the extent that any counterparty to an Assigned Contract failed to object to any notice of

assumption and assignment or to the Cure Amount with respect to such Assigned

Contract, such counterparty is deemed to have consented to such Cure Amount and the

assignment of such contract to the Purchaser.

                     (f)    Possible   Covenants    Attached    to   the Assets.       The

assumption of that certain Master Declaration, which is recorded in Official Records

Book 26080, Page 4905 of the Public Records of Miami-Dade County, Florida, is without

prejudice to any party’s argument over whether such contract is an “executory

contract” subject to assumption or rejection.

Rejected Contracts

               23.   This Sale Order shall operate as a permanent injunction prohibiting

any party to a contract that has been rejected by any of the Debtors (each a “Rejected

Party”) that in any way relates to the Assets from taking any action against the

Purchaser in connection with the Sale Transaction, whether pursuant to the Bankruptcy

Code or any other statutory or non-statutory federal, state or local law.




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Ipso Facto Clauses Ineffective

               24.   Upon the Debtors’ assignment of the Assigned Contracts to the

Purchaser under the provisions of this Sale Order and any additional order

contemplated by this Sale Order or the Purchase Agreement, and subject to the timely

payment by the Debtors of the applicable Cure Amount or such other amount as may

be agreed to in writing by the parties to an Assigned Contract (provided, however, that

the failure of the Debtors to cure any default under an Assigned Contract shall not

result in any liability to or obligation of the Purchaser), no default shall exist under any

Assigned Contract, and no counterparty to any Assigned Contract shall be permitted to

declare a default thereunder, or otherwise take action against the Purchaser, as a result

of any Debtor’s financial condition, bankruptcy or failure of the Debtor to perform or

observe any of its obligations under the relevant Assigned Contract. Any provision in

an Assigned Contract that prohibits or conditions an assignment or sublease of such

Assigned Contract (including, without limitation, the granting of a lien therein) or

allows the counterparty thereto to terminate, recapture, impose any penalty, condition

on renewal or extension, or modify any term or condition on account of such

assignment or sublease, constitutes an unenforceable anti-assignment provision in

connection with the Sale Transaction that is void and of no force and effect. The failure

of the Debtors or the Purchaser to enforce at any time one or more terms or conditions

of any Assigned Contract shall not be a waiver of such terms or conditions, or the

Debtors’ and Purchaser’s rights to enforce every term and condition of the Assigned

Contract.


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No Stay of Order

               25.     Notwithstanding the provisions of Bankruptcy Rule 6004 and

Bankruptcy Rule 6006 or any applicable provisions of the Local Bankruptcy Rules, this

Sale Order shall not be stayed for 14 days after the entry hereof, but shall be effective

and enforceable immediately upon entry. Time is of the essence in approving the Sale

Transaction, and the Debtors and the Purchaser intend to close the Sale Transaction as

soon as practicable.

Additional Provisions

               26.     Without limiting the other terms of this Sale Order, prior to or upon

the Closing of the Sale Transaction, each of the Debtors’ creditors is authorized and

directed to execute such documents and take all other actions as may be necessary to

release their Liens, Claims and/or Interests, if any, in the Assets as such Liens, Claims

and/or Interests may have been recorded or may otherwise exist.

               27.     Except for Permitted Encumbrances, only as expressly provided in

the Purchase Agreement, this Sale Order (a) shall be effective as a determination that,

upon the Closing, all Liens, Claims and/or Interests existing with respect to the Assets

prior to the Closing (including, but not limited to those listed on Exhibit E to this Sale

Order) have been unconditionally released, discharged and terminated as to the

Purchaser and the Assets, and that the conveyances described herein have been

effected, and (b) shall be binding upon all filing agents, filing officers, title agents, title

companies, recorders of mortgages, recorders of deeds, registrars of deeds,

administrative agencies, governmental departments, secretaries of state, federal, state,


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and local officials, and all other persons and entities who may be required by operation

of law, the duties of their office, or contract, to accept, file, register or otherwise record

or release any documents or instruments, or who may be required to report or insure

any title or state of title in or to any of the Assets.

               28.    Each and every federal, state, and local governmental agency or

department or office is hereby directed to accept this Sale Order and any and all

documents and instruments necessary and appropriate to consummate the transactions

contemplated by the Purchase Agreement.

               29.    Without limiting the other provisions of this Sale Order, if any

person or entity that has filed financing statements, mortgages, mechanic's liens, lis

pendens or other documents or agreements evidencing interests with respect to the

Debtors and/or the Assets shall not have delivered to the Debtors or their designee

prior to the Closing, in proper form for filing and executed by the appropriate parties,

termination statements, instruments of satisfaction, releases of all Liens, Claims and/or

Interests which the person or entity has with respect to the Debtors, the Assets or

otherwise, then (a) the Debtors are hereby authorized and directed to execute and file

such statements, instruments, releases and other documents on behalf of the person or

entity with respect to the Assets and (b) the Purchaser and/or the Debtors are hereby

authorized to file, register, or otherwise record a certified copy of this Sale Order,

which, once filed, registered, or otherwise recorded, shall constitute conclusive

evidence of the release of all Liens, Claims and/or Interests in, against or with respect to

the Debtors and/or the Assets. This Sale Order is deemed to be in recordable form


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sufficient to be placed in the filing or recording system of each and every federal, state,

and local governmental agency, department, or office.

               30.   From and after the date hereof, no creditor of the Debtors or other

party in interest shall take or cause to be taken any action that would interfere with the

transfer of the Assets to the Purchaser in accordance with the terms of this Sale Order.

               31.   This Court hereby retains exclusive jurisdiction, regardless of

whether a chapter 11 plan has been confirmed and consummated and irrespective of the

provisions of any such plan or order confirming such plan, to enforce and implement

the terms and provisions of the Purchase Agreement, all amendments thereto, any

waivers and consents thereunder, and of each of the agreements executed in connection

therewith in all respects including, but not limited to, retaining jurisdiction to (a)

compel delivery of the Assets to the Purchaser in accordance with the terms of the

Purchase Agreement, (b) resolve any dispute, controversy or claim arising under or

related to the Purchase Agreement, or the breach thereof and (c) interpret, implement,

and enforce the provisions of this Sale Order and resolve any disputes related thereto.

               32.   Nothing contained in any plan confirmed in this Chapter 11 case or

any order of this Court confirming such plan shall conflict with or derogate from the

provisions of the Purchase Agreement or the terms of this Sale Order.

               33.   The transactions contemplated by the Purchase Agreement are

undertaken by the Purchaser in good faith, as that term is used in section 363(m) of the

Bankruptcy Code. The Purchaser is a purchaser in good faith of the Assets and is

entitled to all of the protections afforded by section 363(m) of the Bankruptcy Code.


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Accordingly, any reversal or modification on appeal of the authorization provided

herein to consummate the Sale Transaction shall not affect the validity of the Sale

Transaction to the Purchaser.

               34.   The terms and provisions of the Purchase Agreement and this Sale

Order shall be binding in all respects upon, and shall inure to the benefit of, the

Debtors, their estates and their creditors, the Purchaser, and any of such parties’

respective affiliates, designees, successors, and assigns, and shall be binding in all

respects upon all of the Debtors’ creditors, all prospective and actual bidders for some

or all of the Assets, and all persons and entities receiving notice of the Sale Motion, the

Auction and/or the Sale Hearing notwithstanding any subsequent appointment of any

examiner(s) or receiver(s) under any Chapter of the Bankruptcy Code or any other law,

and all such provisions and terms shall likewise be binding on such trustee(s),

examiner(s), or receiver(s) and shall not be subject to rejection or avoidance by the

Debtors, their estates, their creditors, their members or any examiner(s) or receiver(s).

               35.   The Bid Deposit of the Second Highest Bidder will be returned

within (5) business days following the closing of the Sale to the Purchaser.

               36.   The failure specifically to include any particular provision of the

Purchase Agreement in this Sale Order shall not diminish or impair the effectiveness of

such provision, it being the intent of this Court that the Purchase Agreement be

authorized and approved in its entirety.

               37.   All time periods set forth in this Order shall be calculated in

accordance with Bankruptcy Rule 9006(a).


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               38.   The Purchase Agreement and any related agreements, documents,

or other instruments may be modified, amended, or supplemented by the parties

thereto, in a writing signed by both parties, and in accordance with the terms thereof,

without further order of this Court, provided that any such modification, amendment

or supplement does not have a material adverse effect on the Debtors’ estates.



DATED:     New York, New York
           November 26, 2014

                                        s/ Shelley C. Chapman
                                        UNITED STATES BANKRUPTCY JUDGE




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